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                       IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF PENNSYLVANIA


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       NO. 2:19-CR-00115-DWA
                                                     )
TAL PRIHAR                                           )


                                             ORDER

       AND NOW, this _______ day of ___________________, 2020, it is hereby ORDERED,

ADJUDGED and DECREED that Defendant’s Motion for an Extension of Time to File Pretrial

Motions is hereby granted. Pretrial Motions are due no later than January 13, 2021.

       IT IS FURTHER ORDRED that the extension of time caused by this continuance be

deemed excludable delay under the Speedy Trial Act, 18 U.S.C. § 3161 et seq. Specifically, the

Court finds that the ends of justice served by granting this continuance outweigh the best interest

of the public and the defendant in a speedy trial, 18 U.S.C. § 3161(h)(7)(A), since, for the

reasons stated in defendant’s motion, the failure to grant such a continuance would deny counsel

for the defendant reasonable time necessary for effective preparation, taking into account the

exercise of due diligence, 18 U.S.C. §3161(h)(7)(B)(iv).

                                              BY THE COURT:



                                              ________________________________________
                                              United States District Judge
